                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                               NORTHERN DIVISION

GERALD DEARDORFF,                               )
                                                )
      Plaintiff,                                )
                                                )
      v.                                        )       Case No.
                                                )
GC SERVICES, LP,                                )
                                                )
      Defendant.                                )

                                PLAINTIFF’S COMPLAINT

      Plaintiff, GERALD DEARDORFF (Plaintiff), through his attorneys, KROHN & MOSS,

LTD., alleges the following against Defendant, GC SERVICES, LP (Defendant):

                                      INTRODUCTION

   1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act (FDCPA), 15

      U.S.C. 1692, et seq.

   2. Defendant acted through its agents, employees, officers, members, directors, heirs,

      successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                               JURISDICTION AND VENUE

   3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

      actions may be brought and heard before “any appropriate United States district court

      without regard to the amount in controversy.”

   4. Defendant conducts business in the state of Tennessee, and therefore, personal jurisdiction

      is established.

   5. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).



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                                             PARTIES

   6. Plaintiff is a natural person residing at Bean Station, Grainger County, Tennessee.

   7. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to

      Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

   8. Defendant is an alleged debt collector as that term is defined by 15 U.S.C. 1692a(6), and

      sought to collect a consumer debt from Plaintiff.

   9. Defendant is a debt collection agency with a business office in Houston, Texas.

                                 FACTUAL ALLEGATIONS

   10. Defendant is attempting to collect a debt from Plaintiff on behalf of the original creditor.

   11. Plaintiff’s alleged debt owed arises from transactions for personal, family, and household

      purposes.

   12. In or around September of 2012, Defendant began placing calls to Plaintiff’s cell phone

      (423-754-90xx) and home phone (423-327-01xx) in an attempt to collect an alleged debt.

   13. Defendant left a message for Plaintiff asking him to return the call to 800-475-7311, a

      number belonging to Defendant.

   14. Defendant left a voicemail message for client which failed to meaningfully disclose the

      caller’s identity. See transcribed voicemail message attached hereto as Exhibit A.

   15. Defendant left a voicemail message for client which failed to disclose that the

      communication was from a debt collector. See Exhibit A.

   16. Defendant is using false, deceptive and misleading means in connection with attempting to

      collect a debt by not identifying the purpose of its phone calls or that they are an attempt to

      collect a debt.



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                                              COUNT I

    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

   17. Defendant violated the FDCPA based on the following:

          a. Defendant violated §1692d of the FDCPA by engaging in conduct that the natural

              consequences of which was to harass, oppress, and abuse Plaintiff in connection

              with the collection of an alleged debt.

          b. Defendant violated §1692d(6) of the FDCPA by placing telephone calls without

              meaningful disclosure of the caller’s identity.

          c. Defendant violated §1692e of the FDCPA by using false, deceptive, and misleading

              representations in connection with the collection of any debt.

          d. Defendant violated §1692e(10) of the FDCPA by using deceptive means in an

              attempt to collect a debt.

          e. Defendant violated §1692e(11) of the FDCPA by failing to disclose in subsequent

              communications that the communication was from a debt collector.

       WHEREFORE, Plaintiff, GERALD DEARDORFF, respectfully requests judgment be

entered against Defendant, GC SERVICES, LP, for the following:

   18. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

       U.S.C. 1692k.

   19. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act, 15

       U.S.C. 1692k.




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   20. Any other relief that this Honorable Court deems appropriate.



                                           RESPECTFULLY SUBMITTED,
DATED: November 19, 2012
                                           KROHN & MOSS, LTD.


                                     By:      /s/ Shireen Hormozdi
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